     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 1 of 23 Page ID #:64



 1

 2

 3                                                  2/19/2021
 4                                                      JB




 5

 6

 7

 8                           UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             October 2020 Grand Jury

11   UNITED STATES OF AMERICA,               CR     2:21-cr-00065-FLA

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. § 1951(a): Conspiracy
                                             to Interfere with Commerce by
14   KALEB WILLIAMS,                         Robbery and Interference with
     GILBERT ALEXANDER BAILEY, JR.,          Commerce By Robbery; 18 U.S.C.
15   TEVAUGHN BROWN,                         §§ 924(c)(1)(A)(ii), (iii):
     TERRANCE CLEYON PEARSON,                Possess, Use, Carry, Brandish, and
16   DA’MARI MARIO CRANE, and                Discharge a Firearm in Furtherance
     TONISHA MARIE JOHNSON,                  of and During and in Relation to a
17                                           Crime of Violence; 18 U.S.C.
                                             § 922(g)(1): Felon in Possession
18             Defendants.                   of a Firearm and Ammunition 18
                                             U.S.C. §§ 981(a)(1)(C), 924(d)(1)
19                                           and 28 U.S.C. § 2461(c): Criminal
                                             Forfeiture]
20

21        The Grand Jury charges:
22                                     COUNT ONE
23                               [18 U.S.C. § 1951(a)]
24                  [DEFENDANTS WILLIAMS, BAILEY, AND JOHNSON]
25   A.   INTRODUCTORY ALLEGATIONS
26        At times relevant to this Indictment:
27

28
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 2 of 23 Page ID #:65



 1        1.    AV Jewelry Mart (“AV Jewelry”), a commercial jewelry store,

 2   located at 2011 West Avenue J, Lancaster, California, regularly

 3   accepted credit cards as tender for purchase transactions.

 4        2.    AV Jewelry obtained goods to be sold in its store from

 5   outside California, including from Georgia and Texas.

 6        3.    AV Jewelry had a remote door lock that could only be opened

 7   by an employee remotely disengaging the lock.

 8   B.   OBJECT OF THE CONSPIRACY

 9        Beginning on a date unknown, and continuing to on or about July
10   23, 2019, in Los Angeles County, within the Central District of
11   California, defendants KALEB WILLIAMS, GILBERT ALEXANDER BAILEY, JR.,
12   and TONISHA MARIE JOHNSON conspired with others known and unknown to
13   the Grand Jury to knowingly and intentionally interfere with commerce
14   by robbery, in violation of Title 18, United States Code, Section
15   1951(a).
16   C.   MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE
17        ACCOMPLISHED
18        The object of the conspiracy was to be accomplished, in
19   substance, as follows:
20        1.    On the day of the robbery, defendants WILLIAMS and JOHNSON
21   would contact each other to discuss and plan the robbery.
22        2.    Defendant WILLIAMS would travel to the location around AV
23   Jewelry to serve as a lookout during the robbery.
24        3.    Just prior to the robbery, defendant JOHNSON would enter AV
25   Jewelry pretending to be a customer so that she could hold the door
26   for co-conspirators to defeat the remote lock.
27

28

                                            2
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 3 of 23 Page ID #:66



 1        4.    Defendant BAILEY and three co-conspirators, Individuals 1,

 2   2 and 3, would grab the open door from defendant JOHNSON and enter AV

 3   Jewelry to commit the armed robbery.

 4        5.    Individual 1 and Individual 2 would assist in the robbery

 5   by brandishing firearms to control store employees during the

 6   robbery.

 7        6.    Individual 1 would steal AV Jewelry’s firearm and give it

 8   to Individual 2, who would then point the stolen firearm at the

 9   victims.

10        7.    Individual 3 would use a hammer and smash jewelry display

11   cases while defendant BAILEY would fill defendant BAILEY’s bag with

12   jewelry.

13        8.    Individuals 1,    2, and 3, and defendant BAILEY would then

14   flee and enter defendant BAILEY’s blue Honda and be driven away by

15   Individual 4.

16   D.   OVERT ACTS

17        In furtherance of the conspiracy, and to accomplish the object
18   of the conspiracy, on or about the following dates, defendants
19   WILLIAMS, BAILEY, and JOHNSON, and Individuals 1, 2, 3, and 4, and
20   others known and unknown to the Grand Jury, committed various overt
21   acts within the Central District of California, including, but not
22   limited to, the following:
23        Overt Act No. 1:       On or about July 21, 2019, by text message
24   using coded language, defendant JOHNSON texted defendant WILLIAMS to
25   ask how she could get involved in defendant WILLIAMS’s planned
26   robbery.
27

28

                                            3
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 4 of 23 Page ID #:67



 1        Overt Act No. 2:       On or about July 23, 2019, driving a tan

 2   Chrysler Concorde, defendant WILLIAMS traveled to the area of the AV

 3   Jewelry parking lot.

 4        Overt Act No. 3:       On or about July 23, 2019, by text message

 5   using coded language, defendant WILLIAMS told defendant JOHNSON that
 6   he needed somebody to take a piece of jewelry into the AV Jewelry
 7   when AV Jewelry opened.
 8        Overt Act No. 4:       On or about July 23, 2019, CC-4, driving
 9   defendant BAILEY’s blue Honda, carrying defendant BAILEY, Individuals
10   1, Individual 2, and Individual 3 as passengers, reversed into a
11   parking spot near the entrance of AV Jewelry.
12        Overt Act No. 5:       On or about July 23, 2019, defendant JOHNSON
13   parked a light blue Dodge Stratus with yellow paper plates around the
14   corner from AV Jewelry.
15        Overt Act No. 6:       On or about July 23, 2019, defendant JOHNSON
16   got out of the light blue Dodge Stratus and walked toward AV Jewelry.
17        Overt Act No. 7:       On or about July 23, 2019, defendant JOHNSON
18   approached the door of AV Jewelry and waited for the employees at AV
19   Jewelry to remotely unlock the door.
20        Overt Act No. 8:       On or about July 23, 2019, following
21   defendant WILLIAMS’s instructions, defendant JOHNSON handed an
22   employee of AV Jewelry a bracelet to clean.
23        Overt Act No. 9:       On or about July 23, 2019, defendant JOHNSON
24   walked to the front door of AV Jewelry and slowly opened the door, so
25   that defendant BAILEY and Individuals 1, 2, and 3 would have an
26   opportunity to enter AV Jewelry.
27        Overt Act No. 10:      On or about July 23, 2019, immediately after
28   defendant JOHNSON opened and held open the door of AV Jewelry,

                                            4
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 5 of 23 Page ID #:68



 1   defendant BAILEY, Individual 1, Individual 2, and Individual 3,

 2   wearing face masks, got out of defendant BAILEY’s blue Honda, grabbed

 3   the open door from defendant JOHNSON, and entered AV Jewelry.

 4        Overt Act No. 11:      On or about July 23, 2019, Individual 1 and

 5   Individual 2 each brandished black handguns and used the handguns to
 6   control and intimidate AV Jewelry store employees (“Employee-Victim
 7   1” and “Employee-Victim 2”) and a customer who was present inside the
 8   store (the “Customer Victim”).
 9        Overt Act No. 12:      On or about July 23, 2019, Individual 1
10   pointed a firearm at Employee-Victim 1, ordered Employee-Victim 1 to
11   get down, and threatened to shoot Employee-Victim 1 if he moved.
12        Overt Act No. 13:      On or about July 23, 2019, Individual 3
13   grabbed a hammer from defendant BAILEY’s bag and began smashing
14   display cases.
15        Overt Act No. 14:      On or about July 23, 2019, defendant BAILEY
16   began grabbing jewelry from smashed display cases and putting the
17   jewelry in his bag.
18        Overt Act No. 15:      On or about July 23, 2019, Individual 1
19   stole a Glock 19 9mm firearm from a desk in AV Jewelry and handed the
20   stolen firearm to Individual 2.
21        Overt Act No. 16:      On or about July 23, 2019, Individual 2
22   brandished and aimed the stolen Glock firearm at Employee-Victim 2 to
23   control and intimidate Employee-Victim 1, Employee-Victim 2, and the
24   Customer-Victim.
25        Overt Act No. 17:      On or about July 23, 2019, defendant BAILEY,
26   Individual 1, Individual 2, and Individual 3 fled AV Jewelry with
27   approximately 348 pieces of jewelry worth approximately $479,900 and
28

                                            5
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 6 of 23 Page ID #:69



 1   a stolen Glock firearm worth approximately $700, having caused

 2   approximately $5,000 in damage to the jewelry display cases.

 3        Overt Act No. 18:      On or about July 23, 2019, defendant BAILEY,

 4   Individual 1, Individual 2, and Individual 3 entered the passenger
 5   seats of defendant BAILEY’s blue Honda.
 6        Overt Act No. 19:      On or about July 23, 2019, Individual 4
 7   drove defendant BAILEY’s blue Honda, carrying defendant BAILEY,
 8   Individual 1, Individual 2, and Individual 3, through the parking lot
 9   away from AV Jewelry.
10        Overt Act No. 20:      On or about July 23, 2019, defendant
11   WILLIAMS, driving his tan Chrysler, waited for defendant BAILEY’s
12   blue Honda, driven by Individual 4, to pass him and then the blue
13   Honda out of the AV Jewelry parking lot.
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            6
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 7 of 23 Page ID #:70



 1                                     COUNT TWO

 2                          [18 U.S.C. §§ 1951(a), 2(a)]

 3                  [DEFENDANTS WILLIAMS, BAILEY, AND JOHNSON]

 4        On or about July 23, 2019, in Los Angeles County, within the

 5   Central District of California, defendants KALEB WILLIAMS, GILBERT

 6   ALEXANDER BAILEY, JR., and TONISHA MARIE JOHNSON, and others known

 7   and unknown, each aiding and abetting the other, obstructed, delayed,

 8   and affected commerce and the movement of articles and commodities in

 9   commerce by knowingly and willingly committing robbery, in that

10   defendants WILLIAMS, BAILEY, and JOHNSON, and others known and

11   unknown, unlawfully took and obtained property consisting of

12   approximately 348 pieces of jewelry worth approximately $479,000,

13   belonging to AV Jewelry, located at 2011 West Avenue J, Lancaster,

14   California, a commercial jewelry store, the inventory of which

15   travels in interstate commerce, from the person and in the presence

16   of employees of AV Jewelry, against their will, by means of actual

17   and threatened force, violence, and fear of injury, immediate and

18   future, to their persons.

19

20

21

22

23

24

25

26

27

28

                                            7
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 8 of 23 Page ID #:71



 1                                    COUNT THREE

 2                     [18 U.S.C. §§ 924(c)(1)(A)(ii), 2(a)]

 3                  [DEFENDANTS WILLIAMS, BAILEY, AND JOHNSON]

 4        On or about July 23, 2019, in Los Angeles County, within the

 5   Central District of California, defendants KALEB WILLIAMS, GILBERT

 6   ALEXANDER BAILEY, JR., and TONISHA MARIE JOHNSON, and others known

 7   and unknown to the Grand Jury, each aiding and abetting the other,

 8   knowingly used and carried firearms, including a Glock 19, 9mm

 9   firearm stolen from AV Jewelry, during and in relation to, and

10   possessed those firearms in furtherance of, a crime of violence,

11   namely, interference with commerce by robbery, in violation of Title

12   18, United States Code, Section 1951(a), as charged in Count Two of

13   this Indictment, and, in so doing, brandished those firearms.

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            8
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 9 of 23 Page ID #:72



 1                                     COUNT FOUR

 2                               [18 U.S.C. § 1951(a)]

 3          [DEFENDANTS WILLIAMS, BAILEY, BROWN, PEARSON, AND CRANE]

 4   A.   INTRODUCTORY ALLEGATIONS

 5        At times relevant to this Indictment:
 6        1.   Party City, a national retail store, sold and distributed
 7   products in, and affecting, interstate commerce.
 8        2.   On October 25, 2019, defendant DA’MARI MARIO CRANE was an
 9   employee at the Party City store located at 39451 10th Street West,
10   Palmdale, California (the “Party City”).
11        3.   Home Depot, a national hardware store, sold and distributed
12   products in, and affecting, interstate commerce.
13        4.   From on or about February 11, 2020 to on or about March 12,
14   2020, defendant CRANE was employed as a cashier at the Home Depot
15   store located at 44226 20th Street West, Lancaster, California (the
16   “Home Depot”).    Defendant CRANE’s last day of work at Home Depot was
17   on or about March 5, 2020.
18   B.   OBJECT OF THE CONSPIRACY
19        Beginning on a date unknown, and continuing to on or about May
20   3, 2020, in Los Angeles County, within the Central District of
21   California, defendants KALEB WILLIAMS, GILBERT ALEXANDER BAILEY, JR.,
22   TEVAUGHN BROWN, TERRANCE CLEYON PEARSON, and CRANE conspired with
23   others known and unknown to knowingly and intentionally interfere
24   with commerce by robbery, in violation of Title 18, United States
25   Code, Section 1951(a).
26

27

28

                                            9
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 10 of 23 Page ID #:73



 1   C.   MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

 2        ACCOMPLISHED

 3        The object of the conspiracy was to be accomplished, in

 4   substance, as follows:

 5        1.    Defendant CRANE would use inside information about his

 6   employers, including where his employers stored cash out of public

 7   view, to assist in robberies.

 8        2.    Shortly before the robberies, defendants WILLIAMS and

 9   BAILEY would plan the precise timing of the robberies by calling each

10   other and coordinating over the phone.

11        3.    Defendants BAILEY, BROWN, and PEARSON, and another co-

12   conspirator would enter the store and commit a robbery by either

13   overpowering or threatening at least one employee victim.

14        4.    Defendant BAILEY would collect money from an employee area

15   not in public view, while another co-conspirator either intimidated

16   or overpowered at least one employee victim.

17        5.    Defendant CRANE would either pretend to be employee victim

18   of the robbery in order to assist co-conspirators in the robbery or

19   be part of the robbery crew and intimidate an employee to facilitate

20   the robbery.

21        6.    In furtherance of the robbery, defendant BROWN would

22   discharge a firearm at a glass door to create a path for his and

23   defendant PEARSON’s escape.

24        7.    Defendant WILLIAMS would monitor the robberies from a

25   nearby car as a lookout.

26   D.   OVERT ACTS

27        In furtherance of the conspiracy, and to accomplish the object
28   of the conspiracy, on or about the following dates, defendants

                                            10
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 11 of 23 Page ID #:74



 1   WILLIAMS, BAILEY, BROWN, PEARSON, and CRANE, and others known and

 2   unknown to the Grand Jury, committed various overt acts within the

 3   Central District of California, including, but not limited to, the

 4   following:

 5        1.      The October 25, 2019 Party City Robbery

 6        Overt Act No. 1:        On an unknown date prior to October 25,
 7   2019, defendant CRANE told a co-conspirator that Party City employees
 8   sometimes store cash in a back office not in public view.
 9        Overt Act No. 2:        On or about October 25, 2019, defendant
10   WILLIAMS acted as a lookout in the vicinity of Party City during the
11   armed robbery.
12        Overt Act No. 3:        On or about October 25, 2019, defendants
13   WILLIAMS and BAILEY spoke over the phone to discuss the plan for the
14   armed robbery.
15        Overt Act No. 4:        On or about October 25, 2019, defendant
16   BAILEY’s Nissan Maxima, with collision damage on the passenger side
17   door (the “Nissan Maxima”), entered the shopping center where the
18   Party City is located.
19        Overt Act No. 5:        On or about October 25, 2019, defendant
20   CRANE arrived at the shopping center where Party City is located and
21   got out of a car, across the parking lot from the Party City.
22        Overt Act No. 6:        On or about October 25, 2019, defendant
23   CRANE walked through the parking lot towards the Party City, and as
24   defendant CRANE passed defendant BAILEY’s Nissan Maxima, two co-
25   conspirators got out of the Nissan Maxima and followed defendant
26   CRANE to the Party City.
27

28

                                            11
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 12 of 23 Page ID #:75



 1           Overt Act No. 7:     On or about October 25, 2019, as defendant

 2   CRANE approached the Party City, a third co-conspirator got out of a

 3   dark sedan (the “dark sedan”).

 4           Overt Act No. 8:     On or about October 25, 2019, defendant

 5   CRANE arrived at the front sliding glass doors of the Party City and
 6   began knocking.
 7           Overt Act No. 9:     On or about October 25, 2019, just after an
 8   employee unlocked the Party City doors and opened them, defendant
 9   CRANE stepped into the doorway, and pushed the doors open further
10   with his left forearm, so that defendants BAILEY, BROWN, and PEARSON
11   could enter more easily to commit the robbery.
12           Overt Act No. 10:    On or about October 25, 2019, as defendant
13   CRANE stepped into the Party City, defendants BAILEY, BROWN and
14   PEARSON rushed from behind defendant CRANE and shoved defendant CRANE
15   and Party City Employee-Victim 1 to the ground.
16           Overt Act No. 11:    On or about October 25, 2019, one of the co-
17   conspirators used force to control, subdue, and intimidate Party City
18   Employee-Victim 1 and Party City Employee-Victim 2, by dragging Party
19   City Employee-Victim 1 through the store by her shirt while co-
20   conspirators ran to the back office to steal money from the Party
21   City.
22           Overt Act No. 12:    On or about October 25, 2019, defendants
23   BAILEY and BROWN entered the back office of the Party City, where
24   defendant BAILEY stole approximately $10,000 in cash from Party City
25   and placed it in his bag.
26           Overt Act No. 13:    On or about October 25, 2019, defendants
27   BROWN and PEARSON returned to the front door, discovered that the
28

                                            12
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 13 of 23 Page ID #:76



 1   front sliding door had been locked, and attempted to force their way

 2   out by ramming, kicking, and smashing carts into the door.

 3        Overt Act No. 14:       On or about October 25, 2019, defendant

 4   BROWN, removed a black Sig Sauer, Model P220, .45 caliber handgun
 5   from his waistband and fired the handgun into the glass door,
 6   shattering the glass to create an escape path.
 7        Overt Act No. 15:       On or about October 25, 2019, immediately
 8   after defendant BROWN fired his handgun inside Party City, a co-
 9   conspirator turned on the Nissan Maxima’s headlights and drove
10   towards the Party City at high speed.
11        Overt Act No. 16:       On or about October 25, 2019, immediately
12   after defendant BROWN fired his handgun inside Party City, a co-
13   conspirator turned on the dark sedan’s headlights and drove north
14   towards where the Nissan Maxima had been parked.
15        Overt Act No. 17:       On or about October 25, 2019, defendants
16   BROWN and PEARSON fled through the parking lot on foot towards where
17   the Nissan Maxima had been parked.
18        Overt Act No. 18:       On or about October 25, 2019, defendant
19   PEARSON called defendant WILLIAMS, and they spoke for approximately
20   three minutes regarding the plan to escape the area.
21        Overt Act No. 19:       On or about October 25, 2019, defendant
22   BAILEY fled out of a back door of the Party City.
23        Overt Act No. 20:       On or about October 25, 2019, defendants
24   BROWN and PEARSON discarded some of the items of clothing they wore
25   during the robbery, and defendant BROWN discarded the firearm he
26   discharged in furtherance of the robbery.
27

28

                                            13
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 14 of 23 Page ID #:77



 1        2.    The May 3, 2020 Home Depot Robbery

 2        Overt Act No. 21:       On or about May 1, 2020, defendants BAILEY,

 3   CRANE, and WILLIAMS, and other co-conspirators, entered the Home

 4   Depot to scout it for a potential robbery.

 5        Overt Act No. 22:       On or about May 2, 2020, defendants BAILEY

 6   and CRANE, and other co-conspirators, entered the Home Depot and
 7   loitered near the vault room to scout it for a potential robbery.
 8        Overt Act No. 23:       On or about May 3, 2020, defendant WILLIAMS
 9   arrived at the Home Depot parking lot in a white Chrysler Pacifica
10   bearing unknown license plates (the “Chrysler Pacifica”) and entered
11   the Home Depot.
12        Overt Act No. 24:       On or about May 3, 2020, defendant WILLIAMS,
13   who was inside of the Home Depot at that time, called defendant
14   BAILEY to discuss the plan for the armed robbery.
15        Overt Act No. 25:       On or about May 3, 2020, defendants BAILEY
16   and CRANE arrived at the Home Depot and went inside.
17        Overt Act No. 26:       On or about May 3, 2020, defendant WILLIAMS
18   left the Home Depot without purchasing anything and jogged to the
19   Chrysler Pacifica, where defendant WILLIAMS removed the Chrysler
20   Pacifica’s license plates.
21        Overt Act No. 27:       On or about May 3, 2020, defendant WILLIAMS,
22   in the Chrysler Pacifica no longer bearing license plates, drove out
23   of the Home Depot parking lot to the rear alley of a U-Haul store
24   adjacent to the rear of the Home Depot.
25        Overt Act No. 28:       On or about May 3, 2020, defendants CRANE
26   and BAILEY approached the vault room and controlled and intimidated
27   Home Depot Employee-Victim 1 to open the vault while defendant CRANE
28   held what appeared to be a black handgun.

                                            14
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 15 of 23 Page ID #:78



 1        Overt Act No. 29:       On or about May 3, 2020, defendants BAILEY

 2   and CRANE grabbed approximately $6,828 from the vault and fled out of

 3   the back of the Home Depot to the Chrysler Pacifica.

 4        Overt Act No. 30:       On or about May 3, 2020, defendants

 5   WILLIAMS, BAILEY, and CRANE fled from the area of the robbery in the
 6   Chrysler Pacifica.
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            15
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 16 of 23 Page ID #:79



 1                                     COUNT FIVE

 2                           [18 U.S.C. §§ 1951(a), 2(a)]

 3          [DEFENDANTS WILLIAMS, BAILEY, BROWN, PEARSON, AND CRANE]

 4        On or about October 25, 2019, in Los Angeles County, within the

 5   Central District of California, defendants KALEB WILLIAMS, GILBERT

 6   ALEXANDER BAILEY, JR., TEVAUGHN BROWN, TERRANCE CLEYON PEARSON, and

 7   DA’MARI MARIO CRANE, and others known and unknown, each aiding and

 8   abetting the other, obstructed, delayed, and affected commerce and

 9   the movement of articles and commodities in commerce by knowingly and

10   willingly committing robbery, in that defendants WILLIAMS, BAILEY,

11   BROWN, PEARSON, and CRANE unlawfully took and obtained property

12   consisting of approximately $10,000 in cash, belonging to Party City,

13   located at 39451 10th Street West, Palmdale, California, a national

14   retail store, the inventory of which travels in interstate commerce,

15   from the person and in the presence of employees of Party City,

16   against their will, by means of actual and threatened force,

17   violence, and fear of injury, immediate and future, to their persons.

18

19

20

21

22

23

24

25

26

27

28

                                            16
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 17 of 23 Page ID #:80



 1                                      COUNT SIX

 2                     [18 U.S.C. §§ 924(c)(1)(A)(iii), 2(a)]

 3          [DEFENDANTS WILLIAMS, BAILEY, BROWN, PEARSON, AND CRANE]

 4        On or about October 25, 2019, in Los Angeles County, within the

 5   Central District of California, defendants KALEB WILLIAMS, GILBERT

 6   ALEXANDER BAILEY, JR., TEVAUGHN BROWN, TERRANCE CLEYON PEARSON, and

 7   DA’MARI MARIO CRANE, and others known and unknown to the Grand Jury,

 8   each aiding and abetting the other, knowingly used and carried a

 9   firearm, namely, a black Sig Sauer, Model P220, .45 caliber handgun,

10   bearing serial number G502547, during and in relation to, and

11   possessed that firearm in furtherance of, a crime of violence,

12   namely, interference with commerce by robbery, in violation of Title

13   18, United States Code, Section 1951(a), as charged in Count Five of

14   this Indictment, and, in so doing, discharged that firearm.

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            17
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 18 of 23 Page ID #:81



 1                                    COUNT SEVEN

 2                           [18 U.S.C. §§ 1951(a), 2(a)]

 3                    [DEFENDANTS WILLIAMS, BAILEY, AND CRANE]

 4        On or about May 3, 2020, in Los Angeles County, within the

 5   Central District of California, defendants KALEB WILLIAMS, GILBERT

 6   ALEXANDER BAILEY, JR., and DA’MARI MARIO CRANE, and others known and

 7   unknown, each aiding and abetting the other, obstructed, delayed, and

 8   affected commerce and the movement of articles and commodities in

 9   commerce by knowingly and willingly committing robbery, in that

10   defendants WILLIAMS, BAILEY, and CRANE unlawfully took and obtained

11   property consisting of approximately $6,828 in cash, belonging to

12   Home Depot, located at 44226 20th Street West, Lancaster, California,

13   a national hardware store, the inventory of which travels in

14   interstate commerce, from the person and in the presence of an

15   employee of Home Depot, against the employee’s will, by means of

16   actual and threatened force, violence, and fear of injury, immediate

17   and future, to the person of the employee.

18

19

20

21

22

23

24

25

26

27

28

                                            18
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 19 of 23 Page ID #:82



 1                                     COUNT EIGHT

 2                              [18 U.S.C. § 922(g)(1)]

 3                                 [DEFENDANT BAILEY]

 4        On or about October 28, 2020, in Los Angeles County, within the

 5   Central District of California, defendant GILBERT ALEXANDER BAILEY,

 6   JR. knowingly possessed a firearm, namely, a Glock, Model 26, 9mm

 7   semi-automatic handgun, bearing serial number CUW216US, and

 8   ammunition, namely, approximately 10 rounds of Federal Cartridge

 9   Company 9mm ammunition, in and affecting interstate and foreign

10   commerce.

11        Defendant BAILEY possessed such firearm and ammunition knowing

12   that he had previously been convicted of the following felony crimes,

13   each punishable by a term of imprisonment exceeding one year:

14        (1) Burglary With a Prior Felony, in violation of California

15   Penal Code Section 459, in the Superior Court of the State of

16   California, County of Los Angeles, case number NA053870, on or about

17   April 8, 2003; and

18        (2) Felon/Addict in Possession of a Firearm, in violation of

19   California Penal Code Section 29800(a)(1), in the Superior Court for

20   the State of California, County of Los Angeles, case number BA419989,

21   on or about June 23, 2014.

22

23

24

25

26

27

28

                                            19
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 20 of 23 Page ID #:83



 1                            FORFEITURE ALLEGATION ONE

 2       [18 U.S.C. §§ 981(a)(1)(C), 924(d)(1) and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Sections 981(a)(1)(C), 924(d)(1), and Title 28,

 7   United States Code, Section 2461(c), in the event of any defendant’s

 8   conviction of the offenses set forth in any of Counts One, Two, Four,

 9   Five, or Seven of this Indictment.

10        2.    Any defendant so convicted shall forfeit to the United

11   States of America the following:

12              (a)   All right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to any of the offenses;

15              (b)   All right, title, and interest in any firearm or

16   ammunition involved in or used in any such offense; and

17              (c)   To the extent such property is not available for

18   forfeiture, a sum of money equal to the total value of the property

19   described in subparagraphs (a) and (b).

20        3.    Pursuant to Title 21, United States Code, Section 853(p),

21   as incorporated by Title 28, United States Code, Section 2461(c), any

22   defendant so convicted shall forfeit substitute property, up to the

23   value of the property described in the preceding paragraph if, as the

24   result of any act or omission of said defendant, the property

25   described in the preceding paragraph or any portion thereof (a)

26   cannot be located upon the exercise of due diligence; (b) has been

27   transferred, sold to, or deposited with a third party; (c) has been

28   placed beyond the jurisdiction of the court; (d) has been

                                            20
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 21 of 23 Page ID #:84



 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            21
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 22 of 23 Page ID #:85



 1                            FORFEITURE ALLEGATION TWO

 2                 [18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 924(d)(1), and Title 28, United States

 7   Code, Section 2461(c), in the event of any defendant’s conviction of

 8   the offenses set forth any of Counts Three, Six, or Eight of this

 9   Indictment.

10        2.    Any defendant so convicted shall forfeit to the United

11   States of America the following:

12              (a)   All right, title, and interest in any firearm or

13   ammunition involved in or used in any such offense; and

14              (b)   To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17        3.    Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 28, United States Code, Section 2461(c), any

19   defendant so convicted shall forfeit substitute property, up to the

20   value of the property described in the preceding paragraph if, as the

21   result of any act or omission of said defendant, the property

22   described in the preceding paragraph or any portion thereof (a)

23   cannot be located upon the exercise of due diligence; (b) has been

24   transferred, sold to, or deposited with a third party; (c) has been

25   placed beyond the jurisdiction of the court; (d) has been

26   //

27   //

28

                                            22
     Case 2:21-cr-00065-FLA Document 18 Filed 02/19/21 Page 23 of 23 Page ID #:86



 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3

 4

 5                                            A TRUE BILL
 6

 7                                                     /S/
                                              Foreperson
 8

 9   TRACY L. WILKISON
     Acting United States Attorney
10

11

12   BRANDON D. FOX
     Assistant United States Attorney
13   Chief, Criminal Division

14   JOANNA M. CURTIS
     Assistant United States Attorney
15   Chief, Violent and Organized
     Crime Section
16
     SCOTT M. LARA
17   Assistant United States Attorneys
     Violent and Organized Crime
18   Section

19

20

21

22

23

24

25

26

27

28

                                            23
